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                                       UNITED STATES BANKRUPTCY COURT
                                                              DISTRICT OF CONNECTICUT
                                                       BRIDGEPORT DIVISION


In Re. Ho Wan Kwok                                                  §                   Case No. 22-50073
                                                                    §
                                                                    §                   Lead Case No. 22-50073
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 04/30/2023                                                        Petition Date: 02/15/2022

Months Pending: 15                                                                        Industry Classification:    0   0   0      0

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Luc A. Despins                                                           Luc A. Despins, in his capacity as Chapter 11 Trustee
Signature of Responsible Party                                               Printed Name of Responsible Party
05/22/2023                                                                   Paul Hastings LLP
Date                                                                         200 Park Avenue
                                                                             New York, NY 10166
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name Ho Wan Kwok                                                                            Case No. 22-50073


Part 1: Cash Receipts and Disbursements                                              Current Month            Cumulative

a.   Cash balance beginning of month                                                          $3,531,431
b.   Total receipts (net of transfers between accounts)                                                 $0               $4,171,646
c.   Total disbursements (net of transfers between accounts)                                    $101,002                  $741,216
d.   Cash balance end of month (a+b-c)                                                        $3,430,429
e.   Disbursements made by third party for the benefit of the estate                                    $0                 $12,757
f.   Total disbursements for quarterly fee calculation (c+e)                                    $101,002                  $753,973
Part 2: Asset and Liability Status                                                   Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                         $0
b.   Accounts receivable over 90 days outstanding (net of allowance)                                    $0
c.   Inventory       ( Book        Market      Other       (attach explanation))                        $0
d    Total current assets                                                                               $0
e.   Total assets                                                                                       $0
f.   Postpetition payables (excluding taxes)                                                            $0
g.   Postpetition payables past due (excluding taxes)                                                   $0
h.   Postpetition taxes payable                                                                         $0
i.   Postpetition taxes past due                                                                        $0
j.   Total postpetition debt (f+h)                                                                      $0
k.   Prepetition secured debt                                                                           $0
l.   Prepetition priority debt                                                                          $0
m. Prepetition unsecured debt                                                                           $0
n.   Total liabilities (debt) (j+k+l+m)                                                                 $0
o.   Ending equity/net worth (e-n)                                                                      $0

Part 3: Assets Sold or Transferred                                                   Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                 $0                      $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                            $0                      $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                           $0                      $0

Part 4: Income Statement (Statement of Operations)                                   Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                                   $0
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                      $0
c.   Gross profit (a-b)                                                                                 $0
d.   Selling expenses                                                                                   $0
e.   General and administrative expenses                                                                $0
f.   Other expenses                                                                                     $0
g.   Depreciation and/or amortization (not included in 4b)                                              $0
h.   Interest                                                                                           $0
i.   Taxes (local, state, and federal)                                                                  $0
j.   Reorganization items                                                                               $0
k.   Profit (loss)                                                                                      $0                      $0


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Debtor's Name Ho Wan Kwok                                                                                    Case No. 22-50073

Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total                  $0            $0                $0             $0
       Itemized Breakdown by Firm
                Firm Name                         Role
       i        Neubert, Pepe & Monteith, P.C Local Counsel                                $0            $0                $0             $0
       ii       Paul Hastings LLP (counsel to cLead Counsel                                $0            $0                $0             $0
       iii      Brown Rudnick (counsel to Ho Lead Counsel                                  $0            $0                $0             $0
       iv       Pullman & Comley (counsel to Lead Counsel                                  $0            $0                $0             $0
       v        Coleman Worldwide Advisors LOther                                          $0            $0                $0             $0
       vi       Dundon Advisors (UCC financi Financial Professional                        $0            $0                $0             $0
       vii      Verdolino & Lowey, PC (financFinancial Professional                        $0            $0                $0             $0
       viii     Harney Westwood & Riegels LPOther                                          $0            $0                $0             $0
       ix       Paul Wright                       Other                                    $0            $0                $0             $0
       x        Pallas Partners LLP               Other                                    $0            $0                $0             $0
       xi       Edmiston and Company LimitedOther                                          $0            $0                $0             $0
       xii      Engineering Operations and CerOther                                        $0            $0                $0             $0
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Debtor's Name Ho Wan Kwok                                                   Case No. 22-50073


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Debtor's Name Ho Wan Kwok                                                                                   Case No. 22-50073


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                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total              $0            $0                $0             $0
       Itemized Breakdown by Firm
                Firm Name                        Role
       i        Baker Hostetler LLP              Other                                    $0            $0                $0             $0
       ii       Clayman & Rosenberg LLP          Other                                    $0            $0                $0             $0
       iii      Ganfer Shore Leeds & ZaudererOther                                        $0            $0                $0             $0
       iv       Harcus Parker Ltd.               Other                                    $0            $0                $0             $0
       v        LALIVE SA                        Other                                    $0            $0                $0             $0
       vi       Lawall & Mitchell, LLC           Other                                    $0            $0                $0             $0
       vii      Petrillo Klein & Boxer LLP       Other                                    $0            $0                $0             $0
       viii     Schulman Bhattacharya, LLC       Other                                    $0            $0                $0             $0
       ix       The Casper Firm                  Other                                    $0            $0                $0             $0
       x        The Francis Firm PLLC            Other                                    $0            $0                $0             $0
       xi       VX Cerda & Associates            Other                                    $0            $0                $0             $0
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Debtor's Name Ho Wan Kwok                                                                          Case No. 22-50073


         xcix
         c
c.       All professional fees and expenses (debtor & committees)                  $0              $0               $0               $0




Part 6: Postpetition Taxes                                                               Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                       $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                          $0                          $0
c.   Postpetition employer payroll taxes accrued                                                         $0                          $0
d.   Postpetition employer payroll taxes paid                                                            $0                          $0
e.   Postpetition property taxes paid                                                                    $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                        $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                           $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                      Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                          Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                                 $0
b.      Gross income (receipts) from self-employment                                                                  $0
c.      Gross income from all other sources                                                                           $0
d.      Total income in the reporting period (a+b+c)                                                                  $0
e.      Payroll deductions                                                                                            $0
f.      Self-employment related expenses                                                                              $0
g.      Living expenses                                                                                               $0
h.      All other expenses                                                                                            $0
i.      Total expenses in the reporting period (e+f+g+h)                                                              $0
j.      Difference between total income and total expenses (d-i)                                                      $0
k.      List the total amount of all postpetition debts that are past due                                             $0
l. Are you required to pay any Domestic Support Obligations as defined by 11              Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                        Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ Luc A. Despins                                                                Luc A. Despins, in his capacity as Chapter 11 Trustee
Signature of Responsible Party                                                    Printed Name of Responsible Party

Chapter 11 Trustee                                                                05/22/2023
Title                                                                             Date




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                                                   Bankruptcy1to50




                                                  Bankruptcy51to100




                                                 NonBankruptcy1to50




                                                NonBankruptcy51to100




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In re Ho Wan Kwok                                                                                              Case No.        22-50073 (JAM)
      Debtor                                                                                          Reporting Period:        4/1/2023 - 4/30/2023

                             INDIVIDUAL DEBTOR CASH RECEIPTS AND CASH DISBURSEMENTS
                                          (This Form must be submitted for each bank account maintained by the Debtor)

    Amounts reported should be per the debtor's books, not the bank statement. The beginning cash should be the ending
    cash from the prior month or, if this is the first report, the amount should be the balance on the date the petition was
    filed. Attach the bank statements and a detailed list of all disbursements made during the report period that includes
    the date, the check number, the payee, the transaction description, and the amount. A bank reconciliation must
    be attached for each account. [See MOR-1 (CON'T)]

                                                                                                         Current Month         Cumulative July 8, 2022 to Date
                                                                                                             Actual                        Actual

    Cash - Beginning of Month
    RECEIPTS
     Recovered Funds                                                                              $                       -    $               171,645.15
     Yacht Repair Escrow                                                                          $                       -    $             4,000,000.00
      Fees for $248,745.00 returned by Yachtzoo to the Yacht Repair                               $                       -    $                      -
    Escrow after paid in error (not included in cash receipts)

      Total Receipts                                                                              $                       -    $             4,171,645.15
    DISBURSEMENTS
     ORDINARY ITEMS:
      Bank Fees                                                                                   $                   712.68   $                 3,624.27
      Fees paid to International Surety Ltd for surety bond increase                              $                      -     $                27,747.00
      Fees paid with respect to Yacht repair invoices out of the Yacht                            $                      -     $               576,895.09
    Repair Escrow
      Fees paid with respect to Miller Advertising Agency Inc. (English                           $                       -    $                 21,140.60
    Court Publication Notice)
      Fees paid with respect to Dexter White Starboard Diesel Engine                              $                       -    $                    9,710.00
    Assessment and Ship Sea Trials
      Fees paid with respect to Bridgeport Harbor Marina out of the                               $              18,137.64     $                 18,137.64
    Yacht Repair Escrow
      Fees paid with respect to Safe Harbor out of the Yacht Repair                               $              82,152.00     $                 82,152.00
    Escrow
      Fees for $248,765.00 paid in error with respect to Yachtzoo out of                          $                       -    $                          -
    the Yacht Repair Escrow (not included in cash disbursements)

       Total Ordinary Disbursements                                                               $             101,002.32     $               739,406.60
     REORGANIZATION ITEMS:
      Professional Fees                                                                           $                       -    $                         -
      U. S. Trustee Fees                                                                          $                       -    $                    1,809.43
      Other Reorganization Expenses (attach schedule)                                             $                       -    $                         -
      Total Reorganization Items                                                                  $                       -    $                    1,809.43

     Total Disbursements (Ordinary + Reorganization)                                              $             101,002.32     $               741,216.03

     Net Cash Flow (Total Receipts - Total Disbursements)                                         $            (101,002.32) $                3,430,429.12

    Cash - End of Month (Must equal reconciled bank statement)                                    $          3,430,409.12      $             3,430,409.12
    Third Party Disbursements on Behalf of the Estate
    None                                                                                          $                       -    $                 12,757.00


                                                   THE FOLLOWING SECTION MUST BE COMPLETED
    DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

    TOTAL DISBURSEMENTS                                                    $                                                                                     101,002.32
      LESS: TRANSFERS TO OTHER DEBTOR IN POSSESSION ACCOUNTS                $                                                                                             -
      PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE SOURCES (i.e. from escrow $                                                                                              -
    accounts)
    TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY             $                                                                                     101,002.32
    FEES




                                                                                                                                                                       FORM MOR-1 (INDV)
                                                                                                                                                                                  2/2008
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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF CONNECTICUT
                                     BRIDGEPORT DIVISION

 ------------------------------------------------------x
                                                       :
 In re:                                                :     Chapter 11
                                                       :
 HO WAN KWOK,                                          :     Case No. 22-50073 (JAM)
                                                       :
                   Debtor.                             :
                                                       :
 ------------------------------------------------------x

                    ATTACHMENT TO MONTHLY OPERATING REPORT
                  FOR THE PERIOD APRIL 1, 2023 THROUGH APRIL 30, 2023

      This attachment is incorporated into and made a part of the Monthly Operating Report
 (“MOR”) of Chapter 11 Trustee Luc A. Despins.

 General Disclaimers

     1. The MOR is presented on a form promulgated in 2021 by the Executive Office of the
        United States Trustee. This form in many instances requires inserting a number for a line
        item even if the line item does not apply. The form also does not allow for the insertion
        of explanations or asterisks next to answers. Accordingly, as presented, certain responses
        may be inapplicable or incomplete. Following guidance from the United States Trustee’s
        office, this attachment is being filed as an integral part of the MOR.

     2. On July 8, 2022, the Bankruptcy Court signed an order approving the appointment of Luc
        A. Despins, Esq. as Chapter 11 Trustee (the “Trustee”). The information in this MOR is
        based only on information beginning on the date of the Trustee’s appointment and only
        on bank accounts within the Trustee’s control. 1

     3. The Trustee reserves the rights to amend, modify or supplement this MOR or update it in
        future MORs.

 Specific Responses

          Part 1 Responses

     4. As noted above, this information is limited to cash receipts and disbursements since the
        Trustee was appointed and with respect to accounts under the Trustee’s control. This
        amount includes $4 million received by the Trustee as escrow agent solely for the

 1
   The Trustee is currently investigating the Debtor’s assets and financial affairs (with respect to which investigation
 the Debtor has not cooperated).

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       purpose of securing the completion of the service, maintenance, and repairs required to
       be performed to restore the Lady May to good working order, as set forth in the Consent
       Order Granting HK International Funds Investments (USA) Limited, LLC’s Motion for
       Order Establishing Repair Reserve for the Lady May, entered on October 7, 2022
       [Docket No. 930], from which amount $708,174.09 has been disbursed.

       Part 2 Responses

    5. To the extent this section is applicable (the Debtor is an individual), the Trustee has
       insufficient information to complete this section. The Trustee’s counsel is currently
       reviewing the over 1,200 proofs of claim filed in connection with the claims bar date,
       which occurred on February 17, 2023.

    6. The Trustee is aware of certain professional fees and expenses that have arisen in
       connection with services provided by the Trustee’s professionals, however, as of the end
       of the reporting period, no application with respect to such fees or expenses payable by
       the estate had yet been approved by the Court. The Trustee therefore believes it would be
       premature to list such fees herein as postpetition payables at this time.

       Part 3 Responses

    7. No assets under the control of the Trustee have been sold or transferred.

       Part 4 Responses

    8. To the extent this section is applicable (the Debtor is an individual), the Trustee has
       insufficient information to complete this section.

       Part 5 Responses

    9. As of the end of the reporting period, no application with respect to professional fees or
       expenses payable by the estate had yet been approved by the Court.

    10. The Trustee is aware of a number of professional firms that have provided services to the
        official committee of unsecured creditors or the Debtor (prior to the appointment of the
        Trustee) but that have not at this time had their retentions approved by the Court. The
        Trustee includes such professional firms (of which he is aware) in this part of the MOR
        out of an abundance of caution but reserves all his rights with respect to the retention
        and/or payment of fees with respect to such professional firms. The Trustee also notes
        that the Debtor may have employed professionals (prior to the appointment of the
        Trustee) of which the Trustee is not aware.

       Part 6 Responses

    11. The Trustee is not aware of any postpetition taxes that have accrued during the time
        period since the Trustee’s appointment.

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       Part 7 Responses

    12. The Trustee notes that the Debtor filed a chapter 11 plan on April 20, 2022 [Docket No.
        197] (the “April 2022 Plan”) with respect to which no disclosure statement was filed or
        approved.

       Part 8 Responses

    13. The Trustee has insufficient information to respond to Part 8.




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                                                                                                                         Direct inquiries to:
                                                                                                                             888 761-3967
        G EASrWESTBANK / 5~,
       9300 Flair Dr., 1St FL                                                                                    ACCOUNT STATEMENT
       El Monte, CA. 91731                                                                                                 Page    1    of      2
                                                                                                   STARTING DATE: April 01, 2023
                                                                                                      ENDING DATE: April 30, 2023
                                                                                                  Total days in statement period: 30

                                                                                                                                        ( O)


                                                                                                    Our Online Banking & Mobile App are
                       BK EST/HO WAN KWOK DEBTOR                                                    available at your convenience. You can
                       LUC A DESPINS, CH11 TRUSTEE                                                  perform many banking transactions from
                       CASE #22-50073                                                               the comfort of your home without having
                       C/O PAUL HASTINGS LLP                                                        to visit a branch. Visit
                       200 PARK AVE                                                                 digital.eastwestbank.com or call
                       NEW YORK NY 10166-0005
                                                                                                    833.468.8356 for details.




        Standard Business Checking
       Account number                                                                 Beginning balance                      $3,531,431.44
       Low balance                              $3,430,409.12                         Total additions             (1)           248,745.00
       Average balance                          $3,519,651.22                         Total subtractions          ( 9)          349,767.32
                                                                                      Ending balance                         $3,430,409.12


       CREDITS
       Number                 Date          Transaction Description                                                         Additions
                              04-28     Wire Trans-IN              BK ESTHO WAN KWOK DEBTOR                          248,745.00


       DEBITS
       Date           Transaction Description                                                                            Subtractions
       04-04      Debit Memo              FIDUCIARY MAINTENA NCE                                                          25.00
       04-04      Debit Memo              FIDUCIARY COLLATERAL                                                           557.68
       04-26      Outgoing Wire           BLD WATERFRONT UPL AND OWNER LLC                                            18,137.64
       04-26      Service Charge          OUTGOING WIRE                                                                   40.00
       04-28      Service Charge          WIRE TRANS-IN                                                                   10.00
       04-28      Outgoing Wire           SHM NEWPORT SHIPYARD LLC                                                    82,152 .00
       04-28      Service Charge          OUTGOING WIRE                                                                   40.00
       04-28      Outgoing Wire           YACHTZOO YACHT MANAGEMENT LLC                                              248,765.00
       04-28      Service Charge          OUTGOING WIRE                                                                   40.00


       DAILY BALANCES
       Date       Amount                                  Date               Amount                  Date                   Amount
       03-31               3,531,431.44                   04-26              3,512,671.12
       04-04               3,530,848.76                   04-28              3,430,409.12




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                                                                                          Page 2 of       2

        111.i EASTWESTBANK /
       9300 Flair Dr., 1St FL
                                                  5~,                        STARTING DATE: April 01, 2023
                                                                               ENDING DATE: April 30, 2023

       El Monte, CA. 91731

               BK EST/ HO WAN KWOK DEBTOR


              OVERDRAFT/RETURN ITEM FEES

                                                                Total for              Total
                                                               this period          year-to-date

                       Total Overdraft Fees                        $0.00                   $0.00

                       Total Returned Item Fees                    $0.00                   $0.00




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